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                    12
                                                  UNITED STATES DISTRICT COURT
                    13
                                                 CENTRAL DISTRICT OF CALIFORNIA
                    14

                    15     CRAIG KUYUMJIAN, an individual,           Case No.
                    16                           Plaintiff,          DEFENDANTS’ NOTICE OF
                                                                     REMOVAL TO FEDERAL
                    17                     vs.                       COURT
                    18     CALIBER HOLDINGS                          28 U.S.C. §§ 1332(a), 1441 and 1446
                           CORPORATION, a Delaware
                    19     corporation, CALIBER
                           BODYWORKS, LLC, a California
                    20     Limited Liability Company, and DOES
                           1 to 50, inclusive,
                    21
                                                 Defendants.
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                     1             TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                     2    DISTRICT OF CALIFORNIA AND TO PLAINTIFF AND HIS ATTORNEYS
                     3    OF RECORD:
                     4             PLEASE TAKE NOTICE THAT pursuant to 28 U.S.C. §§ 1332(a), 1441,
                     5    and 1446, Defendants Caliber Holdings LLC f/k/a Caliber Holdings Corporation
                     6    (“Caliber”) and Caliber Bodyworks LLC (“CB”)1 (collectively “Defendants”),
                     7    remove the above-entitled action from the Superior Court of California in and for the
                     8    County of Los Angeles to the United States District Court for the Central District of
                     9    California. This Court has original subject matter jurisdiction under 28 U.S.C. §
                    10    1332(a) over the lawsuit Plaintiff Craig Kuyumjian (“Plaintiff”) filed because
                    11    complete diversity exists and the amount in controversy exceeds $75,000.
                    12    Accordingly, removal is appropriate based on the following grounds.
                    13    I.       PLEADINGS, PROCESS AND ORDERS
                    14             1.      On or about July 12, 2022, Plaintiff filed an unverified Complaint in the
                    15    Superior Court of the State of California in and for the County of Los Angeles,
                    16    entitled Craig Kuyumjian v. Caliber Holdings Corporation et al., Case No.
                    17    22STCV22506 (the “Complaint”).
                    18             2.      Plaintiff’s Complaint alleges eight causes of action against Defendants:
                    19    (1) Disability Discrimination in Violation of FEHA; (2) Failure to Provide
                    20    Reasonable Accommodation in Violation of FEHA; (3) Failure to Engage in the
                    21    Interactive Process in Violation of FEHA; (4) Retaliation in Violation of FEHA; (5)
                    22    Failure to Prevent Retaliation and/or Harassment in Violation of FEHA; (6) CFRA
                    23    Rights Retaliation; (7) Wrongful Termination in Violation of Public Policy; and (8)
                    24
                          1
                    25      Plaintiff erroneously asserts that “Caliber Bodyworks, [sic] LLC” was Plaintiff’s employer.
                          Caliber Bodyworks LLC was not Plaintiff’s employer, and thus, is not a proper party defendant in
                    26    this action. Indeed, Caliber Bodyworks LLC does not employ and did not employ anyone,
                    27    including Plaintiff. Lawrence Decl. ¶ 9; Young Decl. ¶ 5. Instead, Plaintiff was employed only by
                          Defendant Caliber Holdings LLC f/k/a Caliber Holdings Corporation (“Caliber”). Young Decl. ¶¶
                    28    3, 5. Thus, Caliber is the only proper party defendant in this case. See infra, Sections III.B.4. and
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                     1    Failure to Provide Timely Rest and Meal Breaks.
                     2             3.      On July 14, 2022, counsel for Plaintiff served the Summons and
                     3    Complaint on Defendants’ agent for service.            True and correct copies of the
                     4    Summons, Complaint, and all documents served with the Complaint are attached as
                     5    Exhibit A. On August 11, 2022, Defendants filed an Answer to Plaintiff’s Complaint
                     6    in the Los Angeles County Superior Court. A true and correct copy of Defendants’
                     7    Answer is attached as Exhibit B.
                     8             4.      Exhibits A through B constitute all the pleadings, process, and orders
                     9    served upon or by Defendants, or filed, in the superior court action.
                    10    II.      THE REMOVAL IS TIMELY
                    11             5.      This Notice of Removal is timely filed pursuant to 28 U.S.C. § 1446(b)
                    12    because it is filed and served within thirty (30) days of July 14, 2022, the date of
                    13    Defendants’ receipt of Plaintiff’s Complaint. Thirty (30) days from July 14, 2022, is
                    14    August 13, 2022 – a Saturday. Since the removal deadline falls on a Saturday,
                    15    Defendants have until the following court day, i.e., August 15, 2022, to file their
                    16    Removal. See Fed. R. Civ. P. 6(a)(1)(C) (providing that if the last day for an act falls
                    17    on a Saturday, Sunday, or legal holiday, “the period continues to run until the end of
                    18    the next day that is not a Saturday, Sunday, or legal holiday”). Because this Removal
                    19    is filed on or by August 15, 2022, it is timely.
                    20             6.      No previous Notice of Removal has been filed or made with this Court
                    21    for the relief sought herein.
                    22    III.     THIS COURT HAS ORIGINAL SUBJECT MATTER JURISDICTION
                    23             A.      This Court Has Diversity Jurisdiction Under 28 U.S.C. § 1332(a).
                    24             7.      This action is a civil action over which the Court has original diversity
                    25    jurisdiction pursuant to 28 U.S.C. § 1332(a) (diversity jurisdiction), and is one that
                    26    Defendants may remove pursuant to 28 U.S.C. § 1441(a) and (b) in that the amount
                    27    in controversy exceeds $75,000, exclusive of interest and costs; the action involves
                    28    citizens of different states; and no properly joined defendant is a citizen of
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                     1    California.2 As explained below, Defendant CB is a “sham” defendant, and although
                     2    it is not a citizen of California and would therefore not affect complete diversity, its
                     3    citizenship may nevertheless be disregarded for purposes of establishing diversity
                     4    jurisdiction.
                     5             B.      Complete Diversity of Citizenship Exists.
                     6             8.      A case may be heard in federal court under diversity jurisdiction if there
                     7    is complete diversity of citizenship, i.e., all plaintiffs are diverse from all defendants.
                     8    28 U.S.C. § 1332(a). A defendant may remove an action to federal court under 28
                     9    U.S.C. § 1332, provided no defendant is a citizen of the same state in which the action
                    10    was brought or of the same state in which the plaintiff is a citizen. 28 U.S.C.
                    11    § 1441(a)-(b). The citizenship of improperly and fraudulently joined defendants
                    12    must be disregarded for removal purposes. McCabe v. Gen. Food Corp., 811 F.2d
                    13    1336, 1339 (9th Cir. 1987); Briseno v. Mitsubishi Caterpillar Forklift Am., Inc., 2018
                    14    WL 6303737, at *4 (S.D. Cal. Dec. 3, 2018) (“Where a non-diverse defendant has
                    15    been fraudulently joined to otherwise diverse parties, the non-diverse defendant’s
                    16    citizenship is disregarded for diversity jurisdiction purposes.”).
                    17             9.      Here, all requirements are met because Plaintiff is a citizen of
                    18    California, while Caliber and CB are citizens of Delaware and Texas – not of
                    19    California, and moreover, the improperly and fraudulently joined Defendant CB may
                    20    be disregarded for citizenship purposes.
                    21                     1.    Plaintiff is a Citizen of California.
                    22             10.     Plaintiff is, and was at the time he filed the Complaint, a citizen of the
                    23
                          2
                    24      This Notice of Removal discusses the nature and amount of damages that Plaintiff’s Complaint
                          puts at issue. Caliber’s references to specific damage amounts and citation to comparable cases are
                    25    provided solely for establishing that the amount in controversy exceeds the jurisdictional minimum.
                          Caliber maintains that each of Plaintiff’s claims lacks merit and that it is not liable to Plaintiff. No
                    26    statement or reference contained herein shall constitute an admission of liability or a suggestion
                    27    that Plaintiff will or actually could recover any damages based upon the allegations contained in
                          the Complaint or otherwise. “The amount in controversy is simply an estimate of the total amount
                    28    in dispute, not a prospective assessment of [Defendants’] liability.” Lewis v. Verizon Commc’ns,
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                          Inc., 627 F.3d 395, 400 (9th Cir. 2010).
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                     1    State of California. “An individual is a citizen of the state in which he is domiciled.”
                     2    Boon v. Allstate Ins. Co., 229 F. Supp. 2d 1016, 1019 (C.D. Cal. 2002) (citing Kanter
                     3    v. Warner-Lambert Co., 265, F.3d 853, 857 (9th Cir. 2001)). For purposes of
                     4    diversity jurisdiction, citizenship is determined by the individual’s domicile at the
                     5    time that the lawsuit was filed. Armstrong v. Church of Scientology Int’l, 243 F.3d
                     6    546, 546 (9th Cir. 2000) (citing Lew v. Moss, 797 F.2d 747, 750 (9th Cir. 1986)).
                     7    Domicile is determined by “an individual’s 1) residence in a state, and 2) his intent
                     8    to remain indefinitely.” Boon, 229 F. Supp. 2d at 1019.
                     9             11.     Continuing residence creates a presumption of domicile. Washington v.
                    10    Hovensa LLC, 652 F.3d 340, 345 (3rd Cir. 2011); State Farm Mut. Auto Ins. Co. v.
                    11    Dyer, 19 F.3d 514, 519 (10th Cir. 1994). At all times relevant to this action, Plaintiff
                    12    was a resident of the County of Los Angeles, California. See Compl. ¶ 1. Plaintiff
                    13    is a former employee of Caliber and worked for Caliber in Burbank, California until
                    14    the end of his employment with Caliber. Declaration of Sharon Young (“Young
                    15    Decl.”) ¶ 3. During his employment with Caliber, Plaintiff provided Caliber with a
                    16    home address in California, and his last known address at the time of his employment
                    17    termination was within the state of California. Id. ¶ 4. Plaintiff does not allege that
                    18    he was a citizen of any state other than California, and there is no indication that
                    19    Plaintiff is or was a citizen of a state other than California at any time relevant to the
                    20    Complaint. See Compl., ¶ 1. On information and belief, Plaintiff intends to remain
                    21    indefinitely in California. Thus, Plaintiff was and is domiciled in the State of
                    22    California and, therefore, is a citizen of California for purposes of diversity
                    23    jurisdiction in this matter.
                    24                     2.    Defendant Caliber is a Citizen of Texas and Delaware.
                    25             12.     For diversity purposes under 28 U.S.C. section 1332(a), a limited
                    26    liability company is a citizen of every state of which its owners/members are citizens.
                    27    Johnson v. Colombia Properties Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006).
                    28    As of December 31, 2020, Defendant Caliber Holdings Corporation converted to
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                     1    Caliber Holdings LLC, a limited liability company and a wholly owned subsidiary
                     2    of CH Hold LLC. Declaration of Sharon Lawrence (“Lawrence Decl.”) ¶ 4. The
                     3    sole member or Caliber Holdings LLC is CH Hold LLC. Id. CH Hold LLC is a
                     4    limited liability company and a wholly owned subsidiary of Wand Caliber Holdings
                     5    LLC. Id. ¶ 5. The sole member of CH Hold LLC is Wand Caliber Holdings LLC.
                     6    Id. Wand Caliber Holdings LLC is a limited liability company and a wholly owned
                     7    subsidiary of Wand Newco 3, Inc. Id. ¶ 6. The sole member of Wand Caliber
                     8    Holdings LLC is Wand Newco 3, Inc. Id. Wand Newco 3, Inc. is, and was at the
                     9    time of the institution of this civil action, a corporation formed under the laws of the
                    10    State of Delaware with its headquarters and principal place of business in the State
                    11    of Texas. Id. ¶ 7.
                    12             13.     For diversity purposes, “a corporation is a citizen of (1) the state under
                    13    whose laws it is organized or incorporated; and (2) the state of its ‘principal place of
                    14    business.’” Davis v. HSBC Bank Nevada, N.A., 557 F.3d 1026, 1028 (9th Cir. 2009)
                    15    (citing 28 U.S.C. § 1332(c)(1)).
                    16             14.     In Hertz Corp. v. Friend, 559 U.S. 77 (2010), the Supreme Court held
                    17    that a corporation’s principal place of business is “the place where a corporation’s
                    18    officers direct, control, and coordinate the corporation’s activities” (i.e., the “nerve
                    19    center” of the business). Id. at 92-93. The Court further described the principal place
                    20    of business as “the place where the corporation maintains its headquarters.” Id. at
                    21    93. Wand Newco 3, Inc.’s principal place of business is in Texas because, under
                    22    Friend, 559 U.S. at 93, its “nerve center” is located in the State of Texas. Lawrence
                    23    Decl. ¶¶ 7-8. Wand Newco 3, Inc.’s corporate headquarters are located at 2941 Lake
                    24    Vista Drive, Lewisville, Texas 75067, and its corporate books and records are located
                    25    there. Id. ¶ 8. Furthermore, Wand Newco 3, Inc.’s executive officers are based in
                    26    the corporate offices in Texas and this is where the day-to-day control of the business
                    27    is exercised. Id.
                    28             15.     Therefore, Wand Newco 3, Inc. is a citizen of Delaware based on its
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                     1    state of incorporation and a citizen of Texas under the “nerve center” test.
                     2             16.     Because Wand Newco 3, Inc. is a citizen of Delaware and Texas, Caliber
                     3    shares the same states of citizenship. Therefore, under Johnson, Caliber is also a
                     4    citizen of both Delaware and Texas. See Johnson, 437 F.3d at 899.
                     5                     3.    CB Is a Citizen Of Texas and Delaware
                     6             17.     CB is a limited liability company and a wholly owned subsidiary of
                     7    Caliber Holdings LLC. Lawrence Decl. ¶ 3. The sole member of CB is Caliber
                     8    Holdings LLC. Id. As established above, Caliber Holdings LLC is a citizen of Texas
                     9    and Delaware. Therefore, under Johnson, CB is also a citizen of both Delaware and
                    10    Texas. See Johnson, 437 F.3d at 899.
                    11                     4.    CB’s Citizenship Is Disregarded for Removal Purposes
                                                 Because It Is a “Sham” Defendant.
                    12
                                                 a.    Fraudulent Joinder Standard
                    13
                                   18.     Even if Plaintiff could establish that CB was a citizen of California –
                    14
                          which he cannot because CB is a citizen of Delaware and Texas – CB never employed
                    15
                          Plaintiff and, thus, it is a sham defendant.        The issue in a fraudulent joinder
                    16
                          determination is “whether the plaintiff truly had a cause of action against the alleged
                    17
                          sham defendants,” not merely whether a nominal cause of action has been stated.
                    18
                          Ritchey v. Upjohn Drug Co., 139 F.3d 1313, 1318-19 (9th Cir. 1998) (citations
                    19
                          omitted).
                    20
                                   19.     Additionally, “[t]he defendant seeking removal to the federal court is
                    21
                          entitled to present the facts showing the joinder to be fraudulent” in order to
                    22
                          determine “whether the plaintiff truly ha[s] a cause of action against the alleged sham
                    23
                          defendants.” Id. at 1318.
                    24
                                   20.     Courts have compared the fraudulent joinder standard to the standard
                    25
                          for judging a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6). See,
                    26
                          e.g., TPS Utilicom Serv., Inc. v. AT & T Corp., 223 F. Supp. 2d 1089, 1102 (C.D.
                    27
                          Cal. 2002) (the “test for fraudulent joinder resembles a Rule 12(b)(6) analysis”).
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                     1    Since Twombly, the 12(b)(6) standard requires that plaintiffs plead factual allegations
                     2    sufficient to “raise a right to relief beyond the speculative level.” Bell Atl. Corp. v.
                     3    Twombly, 550 U.S. 544, 555 (2007). “[A] plaintiff’s obligation to provide the
                     4    ‘grounds’ of his ‘entitlement to relief’ requires more than labels and conclusions, and
                     5    a formulaic recitation of the elements of a cause of action will not do.” Id. A plaintiff
                     6    must plead a “statement of circumstances, occurrences and events in support of the
                     7    claim presented.” Id. at 555, n.3. The Supreme Court stressed that “courts ‘are not
                     8    bound to accept as true a legal conclusion couched as a factual allegation’” and that
                     9    “[t]he pleading must contain something more . . . than . . . a statement of facts that
                    10    merely creates a suspicion [of] a legally cognizable right of action.” Id. at 555
                    11    (citations omitted).        Since federal pleading standards apply in federal court,
                    12    Plaintiff’s Complaint here must be viewed through the lens of Twombly to determine
                    13    whether Plaintiff failed to state a claim against CB thus, fraudulently joined CB.
                    14                           b.     None of the Claims Plaintiff Has Asserted Against CB Are
                                                        Viable as a Matter of Law.
                    15
                                   21.     To establish any of the causes of action in his Complaint against CB,
                    16
                          Plaintiff must show that an employment relationship existed between Plaintiff and
                    17
                          CB. Liability for FEHA claims for wrongful termination, retaliation, discrimination,
                    18
                          failure to accommodate, failure to engage in the interactive process, and failure to
                    19
                          prevent discrmination are limited to employers. See Reno v. Baird, 18 Cal. 4th 640,
                    20
                          644 (1998) (noting that “[t]he FEHA… prohibits only ‘an employer’ from engaging
                    21
                          in improper discrimination”); Minor v. Fedex Office & Print Servs., Inc., 182 F. Supp.
                    22
                          966, 987 (N.D. Cal. 2016) (stating that claims under FEHA § 12940(m) may be
                    23
                          brought only by an employee against an “employer”); Ball v. Los Rios Cmty. Coll.
                    24
                          Dist., 2007 WL 1791689, at * 2 (E.D. Cal. June 15, 2007) (noting that the plain
                    25
                          language of California Government Code sections 12940(m) (accommodation) and
                    26
                          12940(n) (interactive process) limit liability to “employer[s] or other entit[ies]”); Cal.
                    27
                          Gov't Code §§ 12940(a), 12940(k).
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                     1              22.    “An ‘employer’ is one ‘who directly or indirectly, or through an agent
                     2    or any other person, employs or exercises control over the wages, hours, or working
                     3    conditions of any person.’” Salazar v. McDonald’s Corp., 944 F.3d 1024, 1029 (9th
                     4    Cir. 2019) (quoting Industrial Welfare Commission Wage Order No. 5-2001). CB
                     5    does not employ and did not employ anyone, including Plaintiff, because it is merely
                     6    a leaseholder for a number of properties in California. Lawrence Decl. ¶ 9; Young
                     7    Decl. ¶ 5. CB does not compensate any of Caliber’s employees, is not involved in
                     8    managing, supervising, or disciplining any of Caliber’s employees, and did not
                     9    establish any policies that were applicable to Caliber’s non-exempt employees in
                    10    California, including Plaintiff. Lawrence Decl. ¶ 9. As a result, CB was not and
                    11    could not have been involved with Plaintiff’s employment at all. Accordingly,
                    12    Plaintiff cannot state a claim against CB as a matter of law because it was not the
                    13    employer and is not a proper party. See Barajas v. Carriage Cemetery Servs. of Cal.,
                    14    Inc., 2019 WL 2499711, at *4 (N.D. Cal. June 17, 2019) (finding alleged defendants
                    15    were fraudulently joined in the plaintiff’s wage-and-hour claims where defendants
                    16    offered declarations that established “during the relevant period, [the co-defendants]
                    17    have no employees (in California or elsewhere) and have not been involved in
                    18    employment-related decisions”); Thomas v. Aetna Health of Cal., Inc., 2011 WL
                    19    2173715, at *7-8 (E.D. Cal. June 2, 2011) (finding other-named corporation was
                    20    improperly joined, despite conclusory assertion that it “employed Plaintiff,” because
                    21    defendants’ declarations established that it never employed plaintiff).
                    22                     5.    Doe Defendants are Irrelevant for Purposes of Removal.
                    23              23.    The Complaint also names as defendants “DOES 1 through 50,
                    24    inclusive.” The citizenship of fictitious “Doe” defendants, however, is disregarded
                    25    for removal purposes. 28 U.S.C. § 1441(a); see also Soliman v. Philip Morris, Inc.,
                    26    311 F.3d 966, 971 (9th Cir. 2002). Consequently, complete diversity of citizenship
                    27    exists.
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                     1             C.      The Amount in Controversy Exceeds $75,000.
                     2             24.     Federal district courts have original jurisdiction over civil actions where
                     3    the amount in controversy exceeds $75,000, exclusive of interest and costs. 28
                     4    U.S.C. §1332(a). Here, Plaintiff has placed more than $75,000 in controversy.
                     5             25.     A removing defendant “must file in the federal forum a notice of
                     6    removal ‘containing a short and plain statement of the grounds for removal.’” Dart
                     7    Cherokee Basin Operating Co., LLC v. Owens, 135 S.Ct. 547, 551 (2014). The
                     8    “defendant’s notice of removal need include only a plausible allegation that the
                     9    amount in controversy exceeds the jurisdictional threshold.” Dart, 135 S.Ct. at 554.
                    10    “[D]efendants do not need to prove to a legal certainty that the amount in controversy
                    11    requirement has been met. Rather, defendants may simply allege or assert that the
                    12    jurisdictional threshold has been met.” Id., quoting H.R.Rep. No. 112–10, p. 16
                    13    (2011); see also Sanchez v. Monumental Life Ins. Co., 825 F. Supp. 2d 1005, 1008
                    14    (E.D. Cal. 2011) (diversity statute confers jurisdiction over entire action, not just
                    15    specific claims alleged in complaint, and therefore, claims of single plaintiff are
                    16    aggregated in order to satisfy amount in controversy).
                    17             26.     The fact that a complaint fails to specify the total amount of damages in
                    18    a dollar amount does not deprive this Court of jurisdiction. Banta v. Am. Med.
                    19    Response Inc., 2011 WL 2837642, at *1 (C.D. Cal. July 15, 2011) (“Case law
                    20    recognizes that, even where a pleading is indefinite on its face, a defendant may
                    21    possess sufficient information allowing it to ascertain that the amount in controversy
                    22    exceeds the jurisdiction minimum, may remove the action to federal court on that
                    23    basis, and, if challenged, may present evidence to prove up the existence of removal
                    24    jurisdiction.”).
                    25             27.     While Defendants deny any and all liability to Plaintiff, Defendants
                    26    have a good faith belief that in light of the injuries alleged and the remedies sought,
                    27    it is likely that Plaintiff’s claims for relief place more than $75,000 in controversy,
                    28    exclusive of interest and costs.
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                     1             28.     In the Complaint, Plaintiff seeks to recover front and back pay among
                     2    other forms of relief. See, e.g., Compl. ¶ 49. If successful in proving his FEHA
                     3    claims, Plaintiff could be entitled to back pay, front pay, emotional distress damages,
                     4    punitive damages, and attorneys’ fees. See Olvera v. Quest Diagnostics, 2019 WL
                     5    6492246, at *2 (C.D. Cal. Dec. 2, 2019) (identifying available damages under the
                     6    FEHA). Plaintiff’s claim for lost wages alone based on alleged FEHA violations
                     7    places more than $75,000 in controversy. Lost wages are calculated based on the
                     8    amount the former employee would have received from the time of termination up
                     9    through trial. Chavez v. JPMorgan Chase & Co., 888 F.3d 413, 414-15 (9th Cir.
                    10    2018). If a trial date has not been set, as is the case here, courts assessing the
                    11    removability of an employment case have deemed a year from the date of removal as
                    12    a conservative estimate for purposes of determining prospective front pay damages.
                    13    See Reyes v. Staples Office Superstore, LLC, 2019 WL 4187847, at *3 (C.D. Cal.
                    14    Sept. 3, 2019) (citing Fisher v. HNTB Corporation, 2018 WL 6323077, at *5 (C.D.
                    15    Cal. Dec. 3, 2018)).
                    16             29.     Plaintiff was employed up to July 22, 2021.       Young Decl. ¶ 3.
                    17    According to Plaintiff’s employment records, during the relevant period of his
                    18    employment he earned an average weekly base pay rate of $1,201.71 in 2019, an
                    19    average weekly base pay rate of $843.30 in 2020, and an average weekly base pay
                    20    rate of $765.09 in 2021. Id. Plaintiff’s yearly total compensation in 2019 was
                    21    $46,866.63 and in 2020 was $43,851.67. Id. Between July 22, 2021 and the present,
                    22    there were approximately 55 weeks. Thus, even using Plaintiff’s lower average
                    23    weekly base pay rate of $765.09 from 2021, between Plaintiff’s termination and the
                    24    present, Plaintiff’s claims place at least $42,079.95 in controversy ($765.09 /week x
                    25    55 weeks). Once supplemented by the year of front pay California courts include in
                    26    their amount-in-controversy estimates, Plaintiff’s economic damages would increase
                    27    by at least $39,784.68 using his 2021 average weekly base pay rate. Plaintiff’s
                    28    possible back and front pay recovery alone places at least $81,864.63 in controversy,
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                     1    using the conservative, lower 2019 average weekly base pay rate.
                     2             30.     Thus, Plaintiff’s claims for back and front pay alone cause the amount
                     3    in controversy to exceed $75,000.
                     4             31.     Plaintiff also alleges emotional distress damages. Compl., ¶ 50. In
                     5    determining whether the jurisdictional minimum is met, courts consider all
                     6    recoverable damages, including emotional distress damages. “Emotional distress
                     7    awards in California for wrongful termination in violation of public policy and
                     8    discrimination under [FEHA] … can be large relative to the underlying economic
                     9    damages.” Simpson v. Off. Depot, Inc., 2010 WL 11597950, at *3 (C.D. Cal. June
                    10    21, 2010). Because emotional distress damages frequently exceed $75,000, it is
                    11    reasonable to assume that Plaintiff seeks in excess of $75,000 for alleged emotional
                    12    distress damages alone. Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333,
                    13    347–48 (1977), superseded by statute on other grounds; Galt G/S v. JSS Scandinavia,
                    14    142 F.3d 1150, 1155–56 (9th Cir. 1998). Indeed, numerous California Courts have
                    15    awarded more than $75,000 in emotional distress damages alone. See, e.g., Keiffer
                    16    v. Bechtel Corp., 65 Cal. App. 4th 893, 895 (1998) (California Court of Appeal
                    17    upheld jury award in excess of $75,000.00 for emotional distress damages); Satrap
                    18    v. Pac. Gas & Elec. Co., 42 Cal. App. 4th 72, 76 (1996) (jury award in excess of
                    19    $75,000.00 in non-economic damages was upheld); Ward v. Cadbury Schweppes
                    20    Bottling Grp., 2011 WL 7447633 (C.D. Cal. Dec. 11, 2011) (awarding a total of
                    21    $7,550,000 in compensatory damages for emotional distress and physical injuries to
                    22    six plaintiffs in age discrimination and wrongful termination case); Welch v. Ivy Hill
                    23    Corp., No. BC414667, 2011 WL 3293268 (Los Angeles Sup. Ct. Mar. 8, 2011)
                    24    (awarding $1,270,000 in pain and suffering to employee in age discrimination
                    25    action).3
                    26    3
                           See also, e.g., EEOC v. Harris Farms, Inc., Docket No. 02-CV-06199-AW1-LJ0
                    27    (E.D. Cal. Jan. 24, 2005) (jury verdict included damages for $53,000 in past earnings
                    28    and $350,000 in emotional distress damages); Francies v. Kapla, 127 Cal. App. 4th
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                          1381 (2005) (finding that wrongfully terminated plaintiff suffered $425,000 in non-
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                     1             32.     These calculations are exclusive of attorneys’ fees, interest, and costs,
                     2    and do not attribute value to the other claims that Plaintiff alleges in his Complaint.
                     3    Accordingly, the amount in controversy exceeds the jurisdictional threshold set forth
                     4    in 28 U.S.C. section 1332(a).
                     5    IV.      THE OTHER PREREQUISITES FOR REMOVAL ARE SATISFIED.
                     6             33.     Venue lies in the Central District of California pursuant to 28 U.S.C.
                     7    § 1441(a). This action was originally brought in the Superior Court of the State of
                     8    California, County of Los Angeles and arises out of Plaintiff’s employment in the
                     9    County of Los Angeles. Compl. ¶ 8. Therefore, this District encompasses the county
                    10    in which this action has been pending since its inception.
                    11             34.     Defendants will promptly serve Plaintiff with this Notice of Removal
                    12    and will concurrently file a copy of this Notice of Removal with the Superior Court
                    13    of the State of California, County of Los Angeles, as required under 28 U.S.C.
                    14    § 1446(d).
                    15    V.       CONCLUSION
                    16             35.     If any question arises as to the propriety of the removal of this action,
                    17    Defendants respectfully request the opportunity to present a brief and oral argument
                    18    in support of their position that this case is removable.
                    19             36.     By this Notice of Removal and the exhibits and declarations attached
                    20    hereto, Defendants do not intend to make any admissions of fact, law or liability
                    21

                    22    economic damages, 607% of his $70,000 in economic damages); Campbell v. Nat’l
                    23    Passenger R.R. Corp., 2010 WL 625362, at *1 (N.D. Cal. Feb. 18, 2010) (awarding
                          $120,000 in non-economic damages); Astor v. Rent-A-Center, Docket No:
                    24    03AS048644 (Sacramento Cnty. Super. Ct. Aug. 5, 2005) (jury verdict included
                    25    $250,000 in non-economic damages); Silverman v. Stuart F. Cooper Inc., No.
                          BC467464, 2013 WL 5820140 (Los Angeles Sup. Ct. July 19, 2013) (awarding
                    26    $151,333 for emotional distress damages in age discrimination and wrongful
                    27    termination case); Aboulafia v. GACN Inc., No BC469940, 2013 WL 8115991 (Los
                          Angeles Sup. Ct. Dec. 17, 2013) (pain and suffering awards of at least $250,000 to
                    28    each of four employees in age discrimination and wrongful termination action).
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                     1    relating to the claims in the Complaint, and expressly reserve the right to make any
                     2    and all defenses and motions necessary in their defense against Plaintiff’s allegations.
                     3             37.     Defendants respectfully request that this action be removed from the
                     4    Superior Court of the State of California in and for the County of Los Angeles to the
                     5    United States District Court for the Central District of California, and that all
                     6    proceedings hereinafter in this matter take place in the United States District Court
                     7    for the Central District of California.
                     8

                     9     Dated: August 15, 2022                      MORGAN, LEWIS & BOCKIUS LLP
                    10

                    11                                                 By /s/ Jason S. Mills
                                                                         JASON S. MILLS
                    12                                                   MIRANDA M. ROWLEY
                                                                         Attorneys for Defendants
                    13                                                   Caliber Holdings LLC and Caliber
                                                                         Bodyworks LLC
                    14

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                  EXHIBIT A
Electronically FILED by Superior Court of California, County of Los Angeles on 07/12/2022 03:03 PM Sherri R. Carter, Executive Officer/Clerk of Court, by D. Williams,Deputy Clerk
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                                                   22STCV22506
                                         Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Bruce Iwasaki



                         1     Justin Hanassab, [S.B. #319533]
                               Steven I. Azizi, [S.B. #322719]
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                         6     Attorneys for Plaintiff:
                               CRAIG KUYUMJIAN
                         7

                         8                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA

                         9                                                        COUNTY OF LOS ANGELES

                       10
                                                                                                          Case No.: ___________________
                       11        CRAIG KUYUMJIAN,
                       12                                                                                 COMPLAINT FOR:
                       13                                    Plaintiff,                                    (1)       DISABILITY DISCRIMINATION IN
                                                                                                                     VIOLATION OF FEHA
                       14        v.
                                                                                                           (2)       FAILURE TO PROVIDE REASONABLE
                       15                                                                                            ACCOMODATION IN VIOLATION OF
                                                                                                                     FEHA
                       16        CALIBER HOLDINGS CORPORATION, a
                                 Delaware corporation, CALIBER                                             (3)       FAILURE TO ENGAGE IN THE
                       17        BODYWORKS, LLC, a California Limited                                                INTERACTIVE PROCESS IN
                                 Liability Company, and DOES 1 to 50,                                                VOLATION OF FEHA
                       18        inclusive,
                                                                                                           (4)       RETALIATION IN VIOLATION OF
                       19                                    Defendants.                                             FEHA

                       20                                                                                  (5)       FAILURE TO PREVENT RETALIATION
                                                                                                                     AND/OR HARASSMENT IN VIOLATION
                       21                                                                                            OF FEHA

                       22                                                                                  (6)       CFRA RIGHTS RETALIATION

                       23                                                                                  (7)       WRONGFUL TERMINATION IN
                                                                                                                     VIOLATION OF PUBLIC POLICY
                       24
                                                                                                           (8)       FAILURE TO PROVIDE TIMELY REST
                       25                                                                                            AND MEAL BREAKS

                       26
                                                                                                          JURY TRIAL DEMANDED
                       27

                       28


                                                         PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1          Plaintiff, CRAIG KUYUMJIAN, a California resident (hereinafter, “Plaintiff” or “Mr.
  2   Kuyumjian”), files this Complaint against Defendants Caliber Holding Corporation, a Delaware
  3   Corporation (“Caliber Holding”), and Caliber Bodyworks, LLC, a California Limited Liability
  4   Company, (“Caliber Bodyworks”) (collectively, “Defendants”) and demand a trial by jury, avers
  5   as follows:
  6                                               PARTIES
  7          1.      Plaintiff CRAIG KUYUMJIAN is, and at all relevant times mentioned in this
  8   complaint was, a resident of the County of Los Angeles, California.
  9          2.      Defendant Caliber Holding is, and at all times mentioned in this Complaint was, a
 10   corporation registered under the laws of the State of Delaware with its principal place of business
 11   located at 2941 Lake Vista Drive, Lewisville, Texas.
 12          3.      Defendant Caliber Bodyworks is, and at all times mentioned in this Complaint was,
 13   a limited liability company registered under the laws of the State of California with its principal
 14   place of business located at 7 Oldfield Boulevard, Irvine, California.
 15          4.      Defendants DOES 1 through 50 are sued under fictitious names pursuant to Code of
 16   Civil Procedure section 474. Plaintiff is informed and believes, and on that basis alleges, that each
 17   of the defendants sued under fictitious names is in some manner responsible for the wrongs and
 18   damages alleged below, in so acting was functioning as the agent, servant, partner, and employee
 19   of the Defendant, and in taking the actions mentioned below was acting within the course and scope
 20   of her authority as such agent, servant, partner, and employee, with the permission and consent of
 21   the Defendant. The named Defendants and Doe Defendants are sometimes hereafter referred to,
 22   collectively and/or individually, as “Defendants.”
 23          5.      Each reference in this Complaint to “Defendant” and/or “Defendants” refers to
 24   Defendant Caliber Holdings and Defendant Caliber Bodyworks and/or its managers, agents,
 25   employees and/or supervisors and also refers to all Doe Defendants.
 26          6.      Plaintiff is informed and believes, and based thereon alleges, that each of the
 27   Defendants named herein acted as the employee, agent, partner, joint-employer, alter-ego, joint
 28   venture, affiliate, and/or co-conspirator with or of each of the other Defendants named herein and,
                                                       1
                      PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1   in doing the acts and in carrying out the wrongful conduct alleged herein, each of said Defendants
  2   acted within the scope of said relationship and with the permission, consent and ratification of each
  3   of the other Defendants named herein
  4           7.       Plaintiff is informed and believes and thereon alleges that each and all of the acts
  5   and omissions alleged herein were performed by, and/or are attributable to, all Defendants, each
  6   acting as agents and/or employees, and/or under the direction and control of each of the other
  7   Defendants, and that said acts and failures to act were within the course and scope of said agency,
  8   employment and/or direction and control. Plaintiff is informed and believes and thereon alleges
  9   that at all times material hereto Defendants were and are the agents of each other.
 10                                     JURISDICTION AND VENUE
 11           8.       This Court has personal jurisdiction over Defendants because Defendants reside
 12   and/or regularly transact business in California and because Defendants’ obligations and liability
 13   arise therein.
 14           9.       Venue is proper in this court and this action is properly filed in the County of Los
 15   Angeles because Defendants regularly transact business in the County of Los Angeles, and because
 16   Defendants’ obligations and liability arise therein. Defendants maintain offices in the County of
 17   Los Angeles, regularly transact business there, and have agents, employees and/or supervisors
 18   within the County of Los Angeles.
 19                                ADMINISTRATIVE PREREQUISITES
 20           10.      On July 12, 2022, Plaintiff filed a complaint with the Department of Fair
 21   Employment and Housing (“DFEH”) against Defendants alleging facts upon which this Complaint
 22   is based. On July 12, 2022, Plaintiff received an immediate right-to-sue letter from the DFEH.
 23   Plaintiff has thus exhausted his administrative prerequisites to filing this civil action.
 24                                 FACTS COMMON TO ALL COUNTS
 25           11.      Plaintiff’s hiring: On or around December 16, 2019, Plaintiff was hired by
 26   Defendants as a collision estimator/service advisor for Defendants’ Burbank location. Plaintiff’s
 27   employment lasted until July 22, 2021, when he was wrongfully terminated.
 28           12.      Plaintiff’s job performance: At all times, Plaintiff performed his job duties in an
                                                         2
                        PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1   exemplary manner. Plaintiff was a loyal and devoted employee of Defendants. He fulfilled, and
  2   substantially performed, all of his job duties and all terms and conditions of his employment often
  3   exceeding expectations. In fact, Plaintiff’s job performance was so exceptional that in December
  4   2020, regional manager Rocio Gutierrez (“Mr. Gutierrez”) asked to Plaintiff to cover for a manager
  5   on leave, despite Plaintiff not holding a manager title.
  6          13.      Plaintiff’s job duties consisted of assessing damage to vehicles and facilitating repair
  7   of those vehicles through insurance providers. Throughout his employment, Plaintiff earned
  8   approximately $25.00 per hour and his regular working hours were 40 hours per week, however
  9   the number of hours he worked varied during the pandemic. Plaintiff’s compensation was also
 10   based on various performance metrics including the value of the work he estimated.
 11          14.      Throughout the duration of his employment with Defendants, Plaintiff was never
 12   provided with rest breaks and routinely worked through his lunch breaks.
 13          15.      On or around January 2021, Plaintiff told his supervisor at the time, Gordon
 14   Emmerson, that he was going to need oral surgery to fix a severe medical condition afflicting his
 15   jaw.
 16          16.      On or around February 15, 2021, Reynaldo Solis Jr. (“Mr. Solis Jr.”) became
 17   Plaintiff’s new supervisor.
 18          17.      On or around March 2021, Plaintiff told to informed Mr. Solis, Jr. that he would
 19   need to take at least one (1) month off work to recovery from surgery.
 20          18.      On or around early April 2021, Plaintiff’s surgery was scheduled for May 5, 2021.
 21   Plaintiff provided Mr. Solis Jr. a copy of a medical note placing him off work throughout May and
 22   June 3, 2021.
 23          19.      Throughout the month of April, Plaintiff periodically reminded Mr. Solis, Jr. that he
 24   was going to start his medical leave soon.
 25          20.      On or around May 4, 2021, Plaintiff began his medical leave.
 26          21.      While on medical leave, Plaintiff provided Defendants and Mr. Solis Jr. with
 27   updates on his medical condition.
 28          22.      On or around June 3, 2021, Mr. Solis Jr. asked Plaintiff if he was going to come to
                                                        3
                       PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1   work. Plaintiff responded that he was still recovering from his surgery, and he would get a return-
  2   to-work date soon. In response, Mr. Solis threatened Plaintiff stating: “Your job security was
  3   protected until today.”
  4          23.     In response, Plaintiff informed Mr. Solis Jr. that he had already spoken with Human
  5   Resources about the issue. Rather than express concern for Plaintiff’s wellbeing, Mr. Solis Jr.
  6   responded: “have they provided you with the return date? So I know how to coordinate getting the
  7   help needed.” Plaintiff also informed Mr. Solis Jr. that his leave had been extended to June 21, 2021
  8   and provided Defendants a letter from his medical provider extending his leave.
  9          24.     On or around June 16, 2021, Defendants informed Plaintiff that his medical leave
 10   had ended on June 3, 2021 and requested Plaintiff complete a medical leave certification form.
 11          25.     On or around June 18, 2021, Plaintiff completed the requested forms, provided
 12   Defendants a copy of a medical note extending his medical leave to July 5, 2021, and told Mr. Solis
 13   Jr. that his medical leave had been extended.
 14          26.     On or around July 6, 2021, Plaintiff returned to work and found that his computer
 15   access had been revoked preventing him from doing any work. Plaintiff promptly informed Mr.
 16   Solis Jr. that he could not work because he had no computer access. However, Mr. Solis Jr. denied
 17   having any knowledge as to Plaintiff’s computer access and sent Plaintiff home for the day.
 18          27.     Later that night, Plaintiff asked Mr. Solis Jr. if his computer access had been restored
 19   so he could return to work. Mr. Solis Jr. responded that his computer access had not been restored
 20   and he would call Plaintiff the next morning.
 21          28.     On July 7, 2021, Plaintiff texted Mr. Solis Jr. to find the status of his return but
 22   received no response. However, Plaintiff received a call from Mr. Gutierrez who informed him he
 23   had been transferred to a Defendants’ Van Nuys location.
 24          29.     Shortly after his transfer to Van Nuys, Plaintiff realized that his new supervisor
 25   Reynaldo Solis, Sr. (“Mr. Solis Sr.”), his previous supervisor’s father, had assigned him all the low
 26   value vehicles while the other collision estimators had been assigned regular value vehicles.
 27   Consequently, Plaintiff’s performance metrics would reflect a lower value of work, negatively
 28   impacting Plaintiff’s pay.
                                                       4
                      PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1          30.     When Plaintiff brought this to Mr. Solis Sr.’s attention, he simply laughed and said,
  2   “I guess you’re right.” Mr. Solis Sr. continued to assign Plaintiff low value vehicles.
  3          31.     On or around July 20, 2021, Plaintiff wrote an estimate for a vehicle using the
  4   normal process and calculation tools provided by a particular insurance provider. Plaintiff then sent
  5   the appropriate paperwork to the insurance provider, got approval from the client to start the repair
  6   of the vehicle, and initiated the process to begin the repair.
  7          32.     On or around July 22, 2021, Defendants abruptly terminated Plaintiff’s employment,
  8   falsely accusing him of failing to follow proper guidelines while processing the estimate Plaintiff
  9   made on July 20, 2021. However, the real reason Plaintiff was terminated was because of his
 10   disability and requests for medical leave/reasonable accommodation.
 11          33.     Economic damages: As a consequence of Defendants’ conduct, Plaintiff has
 12   suffered and will suffer harm, including lost past and future income and employment benefits,
 13   damage to his career, and lost wages, unpaid expenses, and penalties, as well as interest on unpaid
 14   wages at the legal rate from and after each payday on which those wages should have been paid, in
 15   a sum to be proven at trial.
 16          34.     Non-economic damages: As a consequence of Defendant’s conduct, Plaintiff has
 17   suffered and will suffer non-economic damages including but not limited to, mental and emotional
 18   distress, anxiety, fatigue, depression, headaches, loss of sleep, trouble breathing, loss of appetite,
 19   feelings of hopelessness and detachment, mood swings, irritability, humiliation, flashbacks, grief,
 20   feelings of suicide, and mental pain and anguish.
 21          35.     Punitive damages: Defendant’s conduct constitutes oppression, fraud, and/or malice
 22   under California Civil Code section 3294 and, thus, entitles Plaintiff to an award of exemplary
 23   and/or punitive damages.
 24          36.     Malice: Defendant’s conduct was committed with malice within the meaning of
 25   California Civil Code section 3294, including that (a) Defendant acted with intent to cause injury
 26   to Plaintiff and/or acted with reckless disregard for Plaintiff’s injury, including by discriminating
 27   against Plaintiff on the basis of his disability; terminating Plaintiff’s employment and taking other
 28   adverse job actions against Plaintiff on pretextual grounds, and/or (b) Defendant’s conduct was
                                                        5
                       PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1   despicable and committed in willful and conscious disregard of Plaintiff’s rights, health, and safety,
  2   including Plaintiff’s right to be free of discrimination, harassment, retaliation and wrongful
  3   employment termination.
  4          37.     Oppression: In addition, and/or alternatively, Defendant’s conduct was committed
  5   with oppression within the meaning of California Civil Code section 3294, including that
  6   Defendant’s actions against Plaintiff because of his disability were “despicable” and subjected
  7   Plaintiff to cruel and unjust hardship, in knowing disregard of Plaintiff’s rights to a workplace free
  8   of discrimination, harassment, retaliation and wrongful employment termination.
  9          38.     Fraud: In addition, and/or alternatively, Defendants’ conduct as alleged was
 10   fraudulent within the meaning of California Civil Code section 3294, including that Defendant
 11   asserted false grounds for constructively terminating Plaintiff’s employment and/or other adverse
 12   job actions, thereby causing Plaintiff hardship and deprivation of his legal rights.
 13          39.     Attorneys’ Fees: Due to the acts of Defendants, Plaintiff has incurred and continues
 14   to incur legal expenses and attorney’s fees.
 15                                         FIRST CAUSE OF ACTION
 16                  DISABILITY DISCRIMINATION IN VIOLATION OF FEHA
 17                                       (Cal. Gov. Code §12940(a))
 18                                         (Against All Defendants)
 19          40.     Plaintiff re-alleges and incorporates by reference, as though fully set forth herein,
 20   all preceding paragraphs of this Complaint.
 21          41.     Under the FEHA, it is unlawful for an employer to discriminate against an employee
 22   on the basis of the employee’s disability and/or medical condition. Cal. Gov’t Code § 12940(a).
 23          42.     At all relevant times, Defendant was an employer within the meaning of FEHA, and
 24   as such, was barred from discriminating and retaliating against employees on the basis of a physical
 25   or mental disability. Cal. Gov’t. Code § 12940. Defendant was also required to take all reasonable
 26   steps to prevent discrimination from occurring, as set forth in Government code sections 12940 et
 27   seq.
 28          43.     At all relevant times, Plaintiff suffered from a disability and/or serious medical
                                                       6
                      PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1   condition, as defined by FEHA, and subsequent related disabilities, which affected his physical
  2   capacity, and that limited his major life activities. Plaintiff is protected from discrimination and
  3   retaliation based on his disability and/or medical conditions.
  4          44.     At all relevant times, Defendants were aware that Plaintiff suffered from a disability
  5   and/or medical condition because Plaintiff specifically reported said disability and/or medical
  6   condition directly to Defendants via Defendants’ supervisors, managing agents, and/or HR.
  7          45.     At all relevant times, Plaintiff was able to perform the essential duties of his job with
  8   reasonable accommodations.
  9          46.     Defendants discriminated and retaliated against Plaintiff in violation of FEHA by
 10   committing unlawful adverse employment practices including, but not limited to the following:
 11   subjecting Plaintiff to excessive scrutiny of work performance, and additional discipline which
 12   other employees were not subjected to; denying Plaintiff equal terms, conditions, and/or privileges
 13   of employment enjoyed by other employees; changing Plaintiff’s job duties; reducing Plaintiff’s
 14   pay; failing to engage in a good faith interactive process to determine reasonable accommodations
 15   that would allow Plaintiff to accomplish the essential functions of his job; failing to remedy or
 16   prevent discrimination, harassment and retaliation; and wrongfully terminating Plaintiff’s
 17   employment in violation of public policy.
 18          47.     Plaintiff is informed and believes, and thereon alleges that Plaintiff’s
 19   disability/medical condition was a substantial motivating reason for Defendants’ decision to
 20   discharge Plaintiff.
 21          48.     Defendants’ unlawful conduct was a substantial factor in causing Plaintiff’s harm.
 22   As a direct and proximate result of Defendants’ conduct, Plaintiff has been damaged in an amount
 23   according to proof at the time of trial.
 24          49.     As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered and
 25   continues to suffer substantial losses in wages, bonuses, benefits, career path opportunities and
 26   other out of pocket expenses in an amount according to proof at the time of trial.
 27          50.     As a direct and proximate result of Defendants’ aforementioned acts, Plaintiff has
 28   also suffered and/or incurred general damages for mental and emotional distress, anxiety, fatigue,
                                                        7
                       PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1   depression, headaches, loss of sleep, trouble breathing, loss of appetite, feelings of hopelessness
  2   and detachment, mood swings, irritability, humiliation, flashbacks, grief, feelings of suicide, and
  3   mental pain and anguish, in an amount according to proof at the time of trial.
  4          51.     Plaintiff also continues to incur attorneys’ fees and legal expenses in an amount
  5   according to proof at the time of trial which fees and expenses are recoverable pursuant to Gov’t.
  6   Code section 12900 et seq.
  7          52.     The above-described actions were perpetrated and/or ratified by managing agents,
  8   officers or directors of Defendants. These acts were done with malice, fraud, oppression, and in
  9   reckless disregard of Plaintiff’s rights. Such acts were deliberate, intentional, despicable in
 10   character and warrant the imposition of punitive damages within the meaning of California Civil
 11   Code section 3294 and in a sum sufficient to punish and deter Defendants’ future conduct.
 12                                    SECOND CAUSE OF ACTION
 13                 FAILURE TO PROVIDE REASONABLE ACCOMMODATION
 14                                       IN VIOLATION OF FEHA
 15                                     (Cal. Gov’t Code § 12940(m))
 16                                         (Against All Defendants)
 17          53.     Plaintiff re-alleges and incorporates by reference, as though fully set forth herein,
 18   all preceding paragraphs of this Complaint.
 19          54.     At all times herein mentioned, FEHA, Government Code section 12940(m) was in
 20   full force and effect and was binding on Defendant. This statute requires Defendant to provide
 21   reasonable accommodations to known disabled employees.
 22          55.     Defendants failed to provide reasonable accommodation for Plaintiff’s disability
 23   and/or medical conditions including but not limited to, by refusing to grant Plaintiff’s reasonable
 24   accommodations, threatening Plaintiff’s employment during his medical leave, reducing Plaintiff’s
 25   role upon his return to work, providing Plaintiff with unjustified criticism, changing Plaintiff’s job
 26   duties, reducing Plaintiff’s pay, and terminating his employment for pretextual reasons.
 27          56.     At all relevant times, Plaintiff was able to perform the essential duties of his position,
 28   or a vacant alternative position to which he could have been reassigned, with reasonable
                                                        8
                      PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1   accommodations for his disability and/or medical condition.
  2          57.     Defendants failed to provide reasonable accommodation for Plaintiff’s disability
  3   and/or medical condition despite requests for accommodation by Plaintiff. Instead, Defendants
  4   terminated Plaintiff’s employment at least in part due to his disability and his requests for
  5   accommodations.
  6          58.     Defendants’ failure to provide reasonable accommodation was a substantial factor
  7   in causing Plaintiff’s harm.
  8          59.     Defendants’ unlawful conduct was a substantial factor in causing Plaintiff’s harm.
  9   As a direct and proximate result of Defendants’ conduct, Plaintiff has been damaged in an amount
 10   according to proof at the time of trial.
 11          60.     As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered and
 12   continues to suffer substantial losses in wages, bonuses, benefits, career path opportunities and
 13   other out of pocket expenses in an amount according to proof at the time of trial.
 14          61.     As a direct and proximate result of Defendants’ aforementioned acts, Plaintiff has
 15   also suffered and/or incurred general damages for mental and emotional distress, anxiety, fatigue,
 16   depression, headaches, loss of sleep, trouble breathing, loss of appetite, feelings of hopelessness
 17   and detachment, mood swings, irritability, humiliation, flashbacks, grief, feelings of suicide, and
 18   mental pain and anguish, in an amount according to proof at the time of trial.
 19          62.     Plaintiff also continues to incur attorneys’ fees and legal expenses in an amount
 20   according to proof at the time of trial which fees and expenses are recoverable pursuant to Gov’t.
 21   Code section 12900 et seq.
 22          63.     The above-described actions were perpetrated and/or ratified by managing agents,
 23   officers or directors of Defendants. These acts were done with malice, fraud, oppression, and in
 24   reckless disregard of Plaintiff’s rights. Such acts were deliberate, intentional, despicable in
 25   character and warrant the imposition of punitive damages within the meaning of California Civil
 26   Code section 3294 and in a sum sufficient to punish and deter Defendants’ future conduct.
 27   //
 28   //
                                                      9
                       PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1                                      THIRD CAUSE OF ACTION
  2   FAILURE TO ENGAGE IN THE INTERACTIVE PROCESS IN VIOLATION OF FEHA
  3                                         (Cal. Gov’t Code § 12940(n))
  4                                           (Against All Defendants)
  5          64.     Plaintiff re-alleges and incorporates by reference, as though fully set forth herein,
  6   all preceding paragraphs of this Complaint.
  7          65.     At all times herein mentioned, FEHA, Government Code section 12940(n), was in
  8   full force and effect and was binding on Defendants. This statute requires employers to engage in
  9   a timely, good faith, interactive process to determine reasonable accommodation for an employee
 10   with a known physical disability or known medical condition. Cal. Gov’t Code § 12940(n).
 11          66.     At all relevant times, Plaintiff was willing to participate in an interactive process to
 12   determine whether reasonable accommodations could be made to enable him to perform the
 13   essential functions of his job.
 14          67.     Defendants wholly failed to engage in a timely, good-faith interactive process with
 15   Plaintiff to accommodate his known disability. Instead, Defendants refused to reasonably
 16   accommodate Plaintiff and wrongfully terminated his employment in part because of his disability.
 17          68.     Defendants’ failure to engage in a good faith interactive process was a substantial
 18   factor in causing Plaintiff’s harm.
 19          69.     Defendants’ unlawful conduct was a substantial factor in causing Plaintiff’s harm.
 20   As a direct and proximate result of Defendants’ conduct, Plaintiff has been damaged in an amount
 21   according to proof at the time of trial.
 22          70.     As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered and
 23   continues to suffer substantial losses in wages, bonuses, benefits, career path opportunities and
 24   other out of pocket expenses in an amount according to proof at the time of trial.
 25          71.     As a direct and proximate result of Defendants’ aforementioned acts, Plaintiff has
 26   also suffered and/or incurred general damages for mental and emotional distress, anxiety, fatigue,
 27   depression, headaches, loss of sleep, trouble breathing, loss of appetite, feelings of hopelessness
 28   and detachment, mood swings, irritability, humiliation, flashbacks, grief, feelings of suicide, and
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                       PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1   mental pain and anguish, in an amount according to proof at the time of trial.
  2          72.     Plaintiff also continues to incur attorneys’ fees and legal expenses in an amount
  3   according to proof at the time of trial which fees and expenses are recoverable pursuant to Gov’t.
  4   Code section 12900 et seq.
  5          73.     The above-described actions were perpetrated and/or ratified by managing agents,
  6   officers or directors of Defendants. These acts were done with malice, fraud, oppression, and in
  7   reckless disregard of Plaintiff’s rights. Such acts were deliberate, intentional, despicable in
  8   character and warrant the imposition of punitive damages within the meaning of California Civil
  9   Code section 3294 and in a sum sufficient to punish and deter Defendants’ future conduct.
 10                                   FOURTH CAUSE OF ACTION
 11                            RETALIATION IN VIOLATION OF FEHA
 12                                      (Cal. Gov. Code §12940(h))
 13                                        (Against All Defendants)
 14          74.     Plaintiff re-alleges and incorporates by reference, as though fully set forth herein,
 15   all preceding paragraphs of this Complaint.
 16          75.     The FEHA makes it unlawful for an employer to retaliate against an employee for
 17   opposing any practices forbidden under California Gov’t. Code sections 12900 through 12966 or
 18   because the employee has filed a complaint, testified, or assisted in any proceedings under the
 19   FEHA. Cal. Gov’t Code §12940(h). The FEHA also makes it unlawful to retaliate or otherwise
 20   discriminate against an employee for requesting an accommodation for a disability, regardless of
 21   whether the request was granted. Cal. Gov’t Code §12940(m)(2).
 22          76.     Plaintiff engaged in legally protected behavior on multiple occasions, including but
 23   not limited to, when he requested reasonable accommodations for his disability and/or serious
 24   medical condition, and, when he took CFRA medical leave to address his disability and/or serious
 25   medical conditions.
 26          77.     Plaintiff is informed and believes and thereon alleges that as a consequence of his
 27   engaging in legally protected activity, Defendants retaliated against Plaintiff by, among other
 28   things, subjecting Plaintiff to excessive scrutiny of work performance, and additional discipline
                                                      11
                      PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1   which other employees were not subjected to; denying Plaintiff equal terms, conditions, and/or
  2   privileges of employment enjoyed by other employees; changing Plaintiff’s job duties; reducing
  3   Plaintiff’s pay; failing to engage in a good faith interactive process to determine reasonable
  4   accommodations that would allow Plaintiff to accomplish the essential functions of his job; failing
  5   to remedy or prevent discrimination, harassment and retaliation; and wrongfully terminating
  6   Plaintiff’s employment in violation of public policy.
  7          78.     Plaintiff’s protected activity was a substantial motivating reason for Defendants’
  8   adverse employment actions including but not limited to the wrongful termination of his
  9   employment.
 10          79.     Defendant’s retaliatory conduct was a substantial factor in causing Plaintiff harm.
 11   As a direct and proximate result of Defendants’ retaliatory conduct, Plaintiff has been damaged in
 12   an amount according to proof at the time of trial.
 13          80.     Defendants’ unlawful conduct was a substantial factor in causing Plaintiff’s harm.
 14   As a direct and proximate result of Defendants’ conduct, Plaintiff has been damaged in an amount
 15   according to proof at the time of trial.
 16          81.     As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered and
 17   continues to suffer substantial losses in wages, bonuses, benefits, career path opportunities and
 18   other out of pocket expenses in an amount according to proof at the time of trial.
 19          82.     As a direct and proximate result of Defendants’ aforementioned acts, Plaintiff has
 20   also suffered and/or incurred general damages for mental and emotional distress, anxiety, fatigue,
 21   depression, headaches, loss of sleep, trouble breathing, loss of appetite, feelings of hopelessness
 22   and detachment, mood swings, irritability, humiliation, flashbacks, grief, feelings of suicide, and
 23   mental pain and anguish, in an amount according to proof at the time of trial.
 24          83.     Plaintiff also continues to incur attorneys’ fees and legal expenses in an amount
 25   according to proof at the time of trial which fees and expenses are recoverable pursuant to Gov’t.
 26   Code section 12900 et seq.
 27          84.     The above-described actions were perpetrated and/or ratified by managing agents,
 28   officers or directors of Defendants. These acts were done with malice, fraud, oppression, and in
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                       PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1   reckless disregard of Plaintiff’s rights. Such acts were deliberate, intentional, despicable in
  2   character and warrant the imposition of punitive damages within the meaning of California Civil
  3   Code section 3294 and in a sum sufficient to punish and deter Defendants’ future conduct.
  4                                     FIFTH CAUSE OF ACTION
  5            FAILURE TO PREVENT RETALIATION, DISCRIMINATION AND/OR
  6                             HARASSMENT IN VIOLATION OF FEHA
  7                                      (Cal. Gov. Code §12940(k))
  8                                        (Against All Defendants)
  9          85.     Plaintiff re-alleges and incorporates by reference, as though fully set forth herein,
 10   all preceding paragraphs of this Complaint.
 11          86.     Under the FEHA, Defendant was required to take all reasonable steps to prevent
 12   discrimination and harassment from occurring, as set forth in Gov’t. Code sections 12940 et seq.
 13          87.     As explained herein, Plaintiff was subjected to harassment, discrimination and
 14   retaliation in the course of his employment with Defendants. Defendants’ unlawful conduct was a
 15   substantial factor in causing Plaintiff’s harm. As a direct and proximate result of Defendants’
 16   conduct, Plaintiff has been damaged in an amount according to proof at the time of trial.
 17          88.     Defendants violated FEHA with regard to Plaintiff when Defendants failed to take
 18   all reasonable steps necessary to investigate and prevent unlawful discrimination and harassment
 19   from occurring, and to remedy such discrimination.
 20          89.     As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered and
 21   continues to suffer substantial losses in wages, benefits, career path opportunities, and other out of
 22   pocket expenses in an amount according to proof at the time of trial.
 23          90.     As a direct and proximate result of Defendants’ aforementioned acts, Plaintiff has
 24   also suffered and/or incurred general damages for mental and emotional distress, anxiety, fatigue,
 25   depression, headaches, loss of sleep, trouble breathing, loss of appetite, feelings of hopelessness
 26   and detachment, mood swings, irritability, humiliation, flashbacks, grief, feelings of suicide, and
 27   mental pain and anguish, in an amount according to proof at the time of trial.
 28          91.     Plaintiff also continues to incur attorneys’ fees and legal expenses in an amount
                                                       13
                      PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1   according to proof at the time of trial which fees and expenses are recoverable pursuant to Gov’t.
  2   Code section 12900 et seq.
  3          92.     The above-described actions were perpetrated and/or ratified by managing agents,
  4   officers or directors of all the Defendants. These acts were done with malice, fraud, oppression,
  5   and in reckless disregard of Plaintiff’s rights, including that Defendants asserted false (pretextual)
  6   grounds for terminating Plaintiff’s employment. Such acts were despicable in character and warrant
  7   the imposition of punitive damages within the meaning of California Civil Code section 3294 and
  8   in a sum sufficient to punish and deter Defendants’ future conduct.
  9                                     SIXTH CAUSE OF ACTION
 10                         CFRA RIGHTS RETALIATION IN VIOLATION
 11                                      (Cal. Gov. Code §12945.2(l))
 12                                         (Against All Defendants)
 13          93.     Plaintiff re-alleges and incorporates by reference the matters alleged in the foregoing
 14   paragraphs of this Complaint as if fully set forth herein.
 15          94.     The California Family Rights Act (“CFRA”) is a portion of FEHA that provides
 16   protections to employees needing family leave or medical leave. CFRA provides that it shall be an
 17   unlawful employment practice for any employer “to refuse to grant a request by any employee with
 18   more than 12 months of service with the employer, and who has at least 1,250 hours of service with
 19   the employer during the previous 12-month period, to take up to a total of 12 workweeks in any
 20   12-month period for family care and medical leave.” Cal. Gov’t. Code § 12945.2(a), (t).
 21          95.     At all relevant times, Defendants were employers covered by CFRA and was
 22   prohibited from discrimination and retaliation in employment on the basis of an employee taking
 23   protected leave, and interference with an employee’s right to take such a leave.
 24          96.     At all relevant times, Plaintiff was eligible for medical leave pursuant to FEHA
 25   and/or CFRA. Plaintiff was an employee of Defendants. Defendants employed 50 or more
 26   employees.
 27          97.     Plaintiff engaged in legally protected behavior when he requested and exercised his
 28   right to take medical leave for a qualifying CFRA purpose by requested accommodations to
                                                        14
                      PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1   facilitate his recovery from the severe medical conditions which were afflicting him following his
  2   oral surgery.
  3          98.      Plaintiff provided reasonable notice to Defendants of his need for accommodations
  4   including its expected time and duration.
  5          99.      Plaintiff is informed and believes and thereon alleges that as a consequence of his
  6   engaging in legally protected activity. Defendants subjected Plaintiff to adverse employment
  7   action(s), including but not limited to subjecting Plaintiff to excessive scrutiny of work
  8   performance, and additional discipline which other employees were not subjected to; denying
  9   Plaintiff equal terms, conditions, and/or privileges of employment enjoyed by other employees;
 10   changing Plaintiff’s job duties; reducing Plaintiff’s pay; failing to engage in a good faith interactive
 11   process to determine reasonable accommodations that would allow Plaintiff to accomplish the
 12   essential functions of his job; failing to remedy or prevent discrimination, harassment and
 13   retaliation; and wrongfully terminating Plaintiff’s employment in violation of public policy.
 14          100.     Plaintiff’s request for accommodations and medical leave were a substantial
 15   motivating reason for Defendants’ decision to take adverse employment action(s) against Plaintiff.
 16          101.     Defendants’ unlawful conduct was a substantial factor in causing Plaintiff’s harm.
 17   As a direct and proximate result of Defendants’ conduct, Plaintiff has been damaged in an amount
 18   according to proof at the time of trial.
 19          102.     As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered and
 20   continues to suffer substantial losses in wages, bonuses, benefits, career path opportunities and
 21   other out of pocket expenses in an amount according to proof at the time of trial.
 22          103.     As a direct and proximate result of Defendants’ aforementioned acts, Plaintiff has
 23   also suffered and/or incurred general damages for mental and emotional distress, anxiety, fatigue,
 24   depression, headaches, loss of sleep, trouble breathing, loss of appetite, feelings of hopelessness
 25   and detachment, mood swings, irritability, humiliation, flashbacks, grief, feelings of suicide, and
 26   mental pain and anguish, in an amount according to proof at the time of trial.
 27          104.     Plaintiff also continues to incur attorneys’ fees and legal expenses in an amount
 28   according to proof at the time of trial which fees and expenses are recoverable pursuant to Gov’t.
                                                        15
                       PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1   Code section 12900 et seq.
  2          105.    The above-described actions were perpetrated and/or ratified by managing agents,
  3   officers or directors of Defendants. These acts were done with malice, fraud, oppression, and in
  4   reckless disregard of Plaintiff’s rights. Such acts were deliberate, intentional, despicable in
  5   character and warrant the imposition of punitive damages within the meaning of California Civil
  6   Code section 3294 and in a sum sufficient to punish and deter Defendant’s future conduct.
  7                                    SEVENTH CAUSE OF ACTION
  8                 WRONGFUL TERMINATION IN VIOLATION PUBLIC POLICY
  9                                         (Against All Defendants)
 10          106.    Plaintiff re-alleges and incorporates by reference, as though fully set forth herein,
 11   all preceding paragraphs of this Complaint.
 12          107.    Plaintiff’s employment was terminated for pretextual reasons and as a result of
 13   Defendants’ violation of fundamental public policies. It is against fundamental California public
 14   policy to discriminate against, harass, and/or retaliate against an employee on the basis of the
 15   employee’s disability and/or serious medical condition; to refuse to accommodate a disabled
 16   employee; and to retaliate against an employee after taking CFRA leave.
 17          108.    Plaintiff’s disability and his requests for reasonable accommodations, his taking of
 18   CFRA leave, among other things, were substantial motivating reasons for Plaintiff’s termination.
 19          109.    Defendants’ unlawful conduct was a substantial factor in causing Plaintiff’s harm.
 20   As a direct and proximate result of Defendants’ conduct, Plaintiff has been damaged in an amount
 21   according to proof at the time of trial.
 22          110.    As a direct and proximate result of Defendants’ conduct, Plaintiff has suffered and
 23   continues to suffer substantial losses in wages, benefits, career path opportunities, and other out of
 24   pocket expenses in an amount according to proof at the time of trial.
 25          111.    As a direct and proximate result of Defendants’ aforementioned acts, Plaintiff has
 26   also suffered and/or incurred general damages for mental and emotional distress, anxiety, fatigue,
 27   depression, headaches, loss of sleep, trouble breathing, loss of appetite, feelings of hopelessness
 28   and detachment, mood swings, irritability, humiliation, flashbacks, grief, feelings of suicide, and
                                                       16
                       PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1   mental pain and anguish, in an amount according to proof at the time of trial.
  2          112.    The above-described actions were perpetrated and/or ratified by managing agents,
  3   officers or directors of all the Defendants. These acts were done with malice, fraud, oppression,
  4   and in reckless disregard of Plaintiff’s rights, including that Defendants’ asserted false (pretextual)
  5   grounds for terminating Plaintiff’s employment. Such acts were despicable in character and warrant
  6   the imposition of punitive damages within the meaning of California Civil Code section 3294 and
  7   in a sum sufficient to punish and deter Defendants’ future conduct.
  8                                    EIGHTH CAUSE OF ACTION
  9                 FAILURE TO PROVIDE TIMELY MEAL AND REST BREAKS
 10                                (California Labor Code §§ 226.7 & 512)
 11                                         (Against All Defendants)
 12          113.    Plaintiff re-alleges and incorporates by reference the matters alleged in the foregoing
 13   paragraphs of this Complaint as if fully set forth herein.
 14          114.    Labor Code section 226.7, subdivision (a), states that “[n]o employer shall require
 15   any employee to work during any meal period…” Labor Code section 226.7, subdivision (b) states
 16   that “[i]f an employer fails to provide an employee a meal break or rest period…the employer shall
 17   pay the employee one additional hour of pay at the employee’s regular rate of compensation for
 18   each work day that the meal or rest period is not provided.” Labor Code section 512 states that
 19   “[a]n employer may not employ an employee for a work period of more than five hours per day
 20   without providing the employee with a meal period of not less than 30 minutes, except if the total
 21   work period per day of the employee is no more than six hours…An employer may not employ an
 22   employee for a work period of more than 10 hours per day without providing the employee with a
 23   second meal period of not less than 30 minutes, except that if the total hours worked is no more
 24   than 12 hours…”
 25          115.    Throughout Plaintiff’s employment between 2019 and 2021, Plaintiff was routinely
 26   denied lawful rest and meal periods by Defendants as required by Labor Code sections 226.7 and
 27   512.
 28          116.    Throughout Plaintiff’s employment between 2019 and 2021, Defendants frequently
                                                        17
                      PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1   and willfully denied Plaintiff paid ten (10) minute rest periods every four (4) hours of work for
  2   shifts lasting more than three and a half (3.5) hours.
  3          117.      As a result, Plaintiff regularly worked in excess of three an half (3.5) hours a day
  4   without being afforded a rest period of at least ten (10) minutes in which he was relieved of all
  5   duties, as required by Labor Code sections 226.7 and 512.
  6          118.      Between 2019 and 2021, Defendants frequently and willfully denied Plaintiff unpaid
  7   off-duty 30-minute meal periods within the first five (5) hours of work for shifts lasting more than
  8   six (6) hours.
  9          119.      As a result, Plaintiff regularly worked in excess of five (5) hours a day without being
 10   afforded a meal period of at least one half-hour each in which she was relieved of all duties, as
 11   required by Labor Code sections 226.7 and 512.
 12          120.      Plaintiff is owed compensation, restitution or other relief for each day a lawful rest
 13   period was not provided, in the form of an additional hour’s pay for each day a lawful rest period
 14   was not provided through the trial date, pursuant to Labor Code section 226.7.
 15          121.      As an actual and proximate result of the aforementioned violations, Plaintiff has
 16   been harmed in an amount according to proof, but in an amount in excess of the jurisdiction of the
 17   Court. Pursuant to California Code of Civil Procedure section 1021.5, Plaintiff is entitled to recover
 18   reasonable attorneys’ fees and costs of suit.
 19

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                        PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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  1                                      PRAYER FOR RELIEF
  2         WHEREFORE, Plaintiff prays for judgment against Defendant as follows:
  3          1.    For general and special damages according to proof;
  4          2.    For pre-judgment and post-judgment interest on all damages awarded;
  5          3.    For exemplary and punitive damages in an amount according to proof;
  6          4.    For reasonable attorneys’ fees;
  7          5.    For costs of suit incurred;
  8          6.    For all civil penalties as permitted by law;
  9          7.    For medical expenses and related items of expense, according to proof;
 10          8.    For such other and further relief as the Court may deem just and proper.
 11          ADDITIONALLY, Plaintiff demands trial of this matter by jury. The amount demanded
 12   exceeds $25,000.00 (Government Code § 72055)
 13

 14   Dated: July 12, 2022                            MIRACLE MILE LAW GROUP, LLP
 15
                             f
 16                                               By: _________________________________
                                                      Justin Hanassab, Esq.
 17
                                                      Steven I. Azizi, Esq.
 18                                                   Attorneys for Plaintiff,
                                                      CRAIG KUYUMJIAN
 19

 20
 21

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                    PLAINTIFF CRAIG KUYUMJIAN’S COMPLAINT FOR DAMAGES
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                  EXHIBIT B
Electronically FILED by Superior Court of California, County of Los Angeles on 08/11/2022 04:23 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Gonzalez,Deputy Clerk
                        Case 2:22-cv-05779-ODW-E Document 1 Filed 08/15/22 Page 37 of 47 Page ID #:37



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                             9

                            10     Attorneys for Defendants
                                   CALIBER HOLDINGS LLC and CALIBER
                            11     BODYWORKS LLC

                            12
                                                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
                            13
                                                    FOR THE COUNTY OF LOS ANGELES – CENTRAL DISTRICT
                            14

                            15     CRAIG KUYUMJIAN, an individual,                                              Case No. 22STCV22506

                            16     Plaintiff,
                                                                                                                DEFENDANTS CALIBER HOLDINGS
                            17     vs.                                                                          LLC AND CALIBER BODYWORKS
                                                                                                                LLC’S ANSWER TO PLAINTIFF’S
                            18     CORPORATION, a Delaware Corporation                                          COMPLAINT
                                   CALIBER BODYWORKS, LLC, a California
                            19     Limited Liability Company; CALIBER
                                   HOLDINGS; and DOES 1 THROUGH 50,                                             Complaint Filed: July 12, 2022
                            20     inclusive,

                            21                                      Defendants.

                            22

                            23

                            24

                            25

                            26

                            27

                            28
       MORGAN, LEWIS &
        BOCKIUS LLP
         ATTORNEYS AT LAW
           COSTA MESA
                                                                   DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT
                                 DB2/ 43870782.2
                Case 2:22-cv-05779-ODW-E Document 1 Filed 08/15/22 Page 38 of 47 Page ID #:38



                     1             Defendants Caliber Holdings LLC f/k/a Caliber Holdings Corporation (“Caliber”) and

                     2    Caliber Bodyworks LLC1 (collectively, “Defendants”) by and through their undersigned counsel,

                     3    hereby answer the allegations contained in the unverified Complaint (“Complaint”) of Plaintiff

                     4    Craig Kuyumjian (“Plaintiff”) as follows:

                     5                                             GENERAL DENIAL

                     6             Pursuant to California Code of Civil Procedure § 431.30(d), Defendants deny, generally

                     7    and specifically, each and every allegation in the Complaint. Defendants further deny, generally

                     8    and specifically, that Plaintiff is entitled to the relief requested, or that Plaintiff has been or will be

                     9    damaged in any sum, or at all, by reason of any alleged act or omission, or any other conduct or

                    10    absence thereof on the part of Defendants, or any of their past or present agents, representatives, or

                    11    employees, acting in the course and scope of their employment.

                    12                                                  DEFENSES

                    13             Defendants have not completed their investigation of the facts of this case, have not

                    14    completed discovery in this matter, and have not completed their preparations for trial. The

                    15    defenses stated below are based on Defendants’ knowledge, information, and belief at this time.

                    16    Defendants specifically reserve the right to modify, amend, or supplement any defense at any time.

                    17    Defendants also assert the following defenses, without admitting any obligations regarding who

                    18    bears the burden of proof or persuasion as to any one of them and pray for judgment as set forth

                    19    below:

                    20                                              FIRST DEFENSE

                    21                                     (Failure to State a Cause of Action)

                    22             1.      Plaintiff is barred from recovery because the Complaint and each and every cause

                    23    of action contained therein fails to state facts sufficient to constitute a cause of action upon which

                    24    relief may be granted.

                    25    1
                            Plaintiff erroneously asserts that “Caliber Bodyworks, [sic] LLC” was Plaintiff’s employer.
                    26    Caliber Bodyworks LLC was not Plaintiff’s employer, and thus, is not a proper party defendant in
                          this action. Instead, Plaintiff was employed only by Defendant Caliber Holdings LLC f/k/a Caliber
                    27    Holdings Corporation (“Caliber”). However, to the extent that Caliber Bodyworks LLC becomes
                          or is deemed to be an appropriate party to this suit, or to the extent necessary and appropriate,
                    28
                          Caliber Bodyworks LLC adopts all of Caliber’s pleadings in this action, including this Answer.
MORGAN, LEWIS &
 BOCKIUS LLP
                                                                          -2-
 ATTORNEYS AT LAW
   COSTA MESA            DB2/ 43870782.2           DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT
                Case 2:22-cv-05779-ODW-E Document 1 Filed 08/15/22 Page 39 of 47 Page ID #:39



                     1                                            SECOND DEFENSE

                     2                                           (Statute of Limitations)

                     3             2.      Plaintiff’s claims are barred in whole or in part by any and all applicable statutes of

                     4    limitations, including but not limited to, California Government Code § 12965(b), California Code

                     5    of Civil Procedure sections 335.1, 338, and 340, and 343.

                     6                                              THIRD DEFENSE

                     7                                 (Misjoinder of Parties/Not the Employer)

                     8             3.      Plaintiff’s claims are barred in whole or in part against named Defendant Caliber

                     9    Bodyworks LLC because this entity at no time employed Plaintiff and therefore Plaintiff is not

                    10    entitled to any relief against Caliber Bodyworks LLC.

                    11                                            FOURTH DEFENSE
                    12                                    (Subject Matter Jurisdiction/Venue)

                    13             4.      Defendant asserts that this Court lacks subject matter jurisdiction over this matter

                    14    and that this Court is not the proper venue.

                    15                                              FIFTH DEFENSE
                    16                                                 (Arbitration)

                    17             5.      The Complaint is barred because Plaintiff is contractually bound to arbitrate his

                    18    claims against Defendants.

                    19                                              SIXTH DEFENSE
                    20                          (Failure to Exhaust Internal/Administrative Remedies)

                    21             6.      Plaintiff’s Complaint and the causes of action therein are barred, in whole or in part,

                    22    by a failure to exhaust internal and/or administrative remedies by filing a timely Charge with the

                    23    California Department of Fair Employment and Housing (“DFEH”) or the United States Equal

                    24    Employment Opportunity Commission (“EEOC”).

                    25                                            SEVENTH DEFENSE
                    26                                 (Exceeds Scope of Administrative Charge)

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                     1             7.      Plaintiff’s claims brought under the Fair Employment and Housing Act (“FEHA”)

                     2    are barred to the extent that Plaintiff’s allegations exceed the scope of any charges or complaints

                     3    of discrimination, harassment, or retaliation Plaintiff filed with the EEOC and/or the DFEH.

                     4                                            EIGHTH DEFENSE
                     5                      (Undue Hardship/Requested Accommodation Unreasonable)

                     6             8.      To the extent that Plaintiff requested any accommodation for his alleged disability

                     7    beyond that which Caliber provided, Plaintiff’s requested accommodation was unreasonable or

                     8    otherwise would impose an undue burden on Caliber.

                     9                                             NINTH DEFENSE
                    10                      (Plaintiff Failed To Initiate or Engage in Interactive Process)

                    11             9.      Plaintiff failed to adequately notify Caliber of his alleged disability, initiate an

                    12    interactive process, or otherwise to participate in good faith in an interactive process to identify a

                    13    reasonable accommodation that would not cause an undue hardship on Caliber’s business

                    14    operations.

                    15                                            TENTH DEFENSE
                    16                                         (After-Acquired Evidence)

                    17             10.     To the extent that Defendants acquire any evidence of wrongdoing by Plaintiff

                    18    during the course of this litigation, which wrongdoing would have materially affected the terms

                    19    and conditions of Plaintiff’s employment or would have resulted in Plaintiff either being demoted,

                    20    disciplined, or terminated, such after-acquired evidence shall bar and/or limit the amount of

                    21    damages Plaintiff can recover on his claims, assuming arguendo, Plaintiff is able to establish

                    22    liability.

                    23                                          ELEVENTH DEFENSE
                    24                                  (Workers’ Compensation Preemption)

                    25             11.     Defendants allege that the Complaint and each purported cause of action set forth

                    26    therein seeking damages for alleged emotional and/or physical injury and/or distress are preempted

                    27    and barred by the exclusive remedy provisions of the California Workers’ Compensation Act,

                    28    codified at California Labor Code Section 3600 et seq.
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                     1                                           TWELFTH DEFENSE

                     2                                               (Unclean Hands)

                     3             12.     Plaintiff’s claims are barred in whole or in part by the doctrine of unclean hands to

                     4    the extent Plaintiff’s alleged damages were caused by Plaintiff’s own actions and/or inaction.

                     5                                         THIRTEENTH DEFENSE

                     6                                            (At-Will Employment)

                     7             13.     Plaintiff’s Complaint and the causes of action therein are barred, in whole or in part,

                     8    by the at-will employment doctrine.

                     9                                         FOURTEENTH DEFENSE

                    10                                      (Punitive Damages Unavailable)

                    11             14.     Plaintiff’s Complaint fails to state facts sufficient to support any claim for punitive

                    12    damages.

                    13                                          FIFTEENTH DEFENSE

                    14                                    (Unconstitutional Punitive Damages)

                    15             15.     An award of punitive damages would be an unconstitutional denial of Defendants’

                    16    right to due process and/or equal protection under the Fifth and Fourteenth Amendments to the

                    17    United States Constitution and Articles I and IV of the California Constitution.

                    18                                          SIXTEENTH DEFENSE

                    19                                               (Excessive Fine)

                    20             16.     An award of penalties or punitive damages under the circumstances of this case

                    21    would constitute an excessive fine and otherwise would be in violation of Defendants’ due process

                    22    and other rights under the United States and California Constitutions.

                    23                                        SEVENTEENTH DEFENSE

                    24                                       (Same Decision/Mixed Motive)

                    25             17.     Plaintiff’s Complaint and the causes of action therein are barred, in whole or in part,

                    26    because to the extent discrimination was a motivating factor in the decisions affecting Plaintiff

                    27    (which Caliber denies), legitimate reasons (standing alone) would have induced Caliber to make

                    28    the same decisions.
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                     1                                         EIGHTEENTH DEFENSE

                     2                           (Just and Proper Exercise of Managerial Discretion)

                     3             18.     Plaintiff’s Complaint and the causes of action therein are barred, in whole or in part,

                     4    because Caliber’s actions were a just and proper exercise of management discretion and business

                     5    judgment, which were undertaken for a fair and honest reason regulated by good faith under the

                     6    circumstances then existing.

                     7                                          NINETEENTH DEFENSE

                     8                                        (Legitimate Business Reasons)

                     9             19.     Plaintiff’s Complaint and the causes of action therein are barred, in whole or in part,

                    10    because Caliber had an honest, good faith belief that all decisions with respect to Plaintiff’s

                    11    employment were made solely for legitimate, business-related reasons and were reasonably based

                    12    upon the facts as Caliber understood them.

                    13                                          TWENTIETH DEFENSE

                    14                                               (Waiver/Release)

                    15             20.     Plaintiff’s claims are barred in whole or in part to the extent such claims have been

                    16    waived, discharged, abandoned, and/or released.

                    17                                        TWENTY-FIRST DEFENSE

                    18                                             (Meal Period Waiver)

                    19             21.     Caliber provided Plaintiff opportunity to take full, uninterrupted 30-minute, off-duty

                    20    meal breaks that commenced by the end of the fifth hour of work. On occasion, at his election and

                    21    not at the direction of Caliber, Plaintiff did not take this opportunity and instead worked during all

                    22    or a portion of his provided meal break. On other occasions, at his election and not at the direction

                    23    of Caliber, Plaintiff did not take the opportunity for a meal break by the end of the fifth hour, instead

                    24    taking a 30-minute off-duty break later in the day.

                    25                                       TWENTY-SECOND DEFENSE

                    26                                     (Res Judicata/Collateral Estoppel)

                    27             22.     The claims of Plaintiff are barred, in whole or in part, by the doctrines of res judicata

                    28    and/or collateral estoppel.
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                     1                                       TWENTY-THIRD DEFENSE

                     2                                            (Good Faith Reliance)

                     3             23.     Plaintiff’s claims are barred to the extent Caliber acted in good faith reliance on an

                     4    administrative regulation, order, ruling and/or interpretation of the Industrial Welfare Commission,

                     5    the Division of Labor Standards Enforcement, and/or other governmental agency.

                     6                                      TWENTY-FOURTH DEFENSE

                     7                                         (Avoidable Consequences)

                     8             24.     The Complaint and each claim alleged are barred, or recovery reduced, because: (a)

                     9    Caliber took reasonable steps to prevent and correct the conduct alleged in the Complaint; (b)

                    10    Plaintiff unreasonably failed to use the preventive and corrective measures that Caliber provided;

                    11    and (c) reasonable use of Caliber’s procedures would have prevented at least some of the harm that

                    12    Plaintiff and/or any of the current and former employees sought to be represented allegedly

                    13    suffered.

                    14                                        TWENTY-FIFTH DEFENSE

                    15                                             (Failure to Mitigate)

                    16             25.     Plaintiff’s Complaint and the causes of action therein are barred, in whole or in part,

                    17    to the extent he has not appropriately or adequately mitigated his alleged damages, if any.

                    18                                        TWENTY-SIXTH DEFENSE

                    19                                                  (Estoppel)

                    20             26.     The claims of Plaintiff are barred in whole or in part by the doctrine of estoppel.

                    21                                     TWENTY-SEVENTH DEFENSE

                    22                                          (Setoff and Recoupment)

                    23             27.     If any damages have been sustained by Plaintiff, which is specifically denied,

                    24    Defendants are entitled under the equitable doctrine of setoff and recoupment to offset all

                    25    overpayments and/or all obligations that Plaintiff owed to Defendants against any judgment that

                    26    may be entered against Defendants.

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                     1                                      TWENTY-EIGHTH DEFENSE

                     2                                         (Accord and Satisfaction)

                     3             28.     The claims of Plaintiff are barred in whole or in part by the principles of accord,

                     4    satisfaction, and payment.

                     5                                       TWENTY-NINTH DEFENSE
                     6                                            (No Willful Violation)

                     7             29.     As a separate affirmative defense to Plaintiff’s Eighth cause of action, Caliber

                     8    contends that if Caliber is found to have failed to pay any amount due to, which Caliber denies,

                     9    Caliber acted at all times on the basis of a good faith and reasonable belief that it had complied

                    10    fully with its obligation to pay Plaintiff all wages due. Consequently, Caliber’s conduct was not

                    11    willful within the meaning of Section 203 of the California Labor Code.

                    12                                          THIRTIETH DEFENSE

                    13                     (Unjust, Arbitrary, and Oppressive, or Confiscatory Penalties)

                    14             30.     As a separate affirmative defense to Plaintiff’s Eighth cause of action, Plaintiff is

                    15    not entitled to recover any civil penalties because, under the circumstances of this case, such

                    16    recovery would be unjust, arbitrary, and oppressive, or confiscatory, within the meaning of

                    17    California Labor Code section 2699, as amended by Senate Bill 1809.

                    18                                        THIRTY-FIRST DEFENSE
                    19                                              (Excessive Fines)

                    20             31.     Plaintiff’s Eighth cause of action is barred in whole or in part, to the extent that

                    21    Plaintiff seeks to recover civil penalties that are disproportionate to the actual harm suffered, if any,

                    22    including but not limited to civil penalties under Labor Code 226(e), an award of civil penalties

                    23    under the circumstances of this case would constitute an excessive fine and otherwise would be in

                    24    violation of Caliber’s due process and other rights under the United States and California

                    25    Constitutions.

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                     1                                      THIRTY-SECOND DEFENSE

                     2                                                (Ultra Vires)

                     3             32.     Plaintiff’s Complaint and the causes of action therein are barred, in whole or in

                     4    part, because, to the extent that any of Caliber’s employees or agents engaged in any unlawful act

                     5    or omission, which unlawful act or omission Caliber expressly denies, any such actionable act or

                     6    omission would have been committed by individuals acting ultra vires because, among other

                     7    things, Caliber did not ratify or adopt the conduct of such employees or agents.

                     8                                        THIRTY-THIRD DEFENSE

                     9                                            (Additional Defenses)

                    10             33.     Defendants are informed and believe that they may have additional defenses

                    11    available. Defendants reserve the right to assert additional defenses after facts supporting those

                    12    defenses are obtained.

                    13

                    14                                          PRAYER FOR RELIEF

                    15             WHEREFORE, Defendants pray for judgment as follows:

                    16             1.      That Plaintiff takes nothing by reason of his Complaint;

                    17             2.      That the Complaint herein be dismissed in its entirety with prejudice;

                    18             3.      That judgment be entered against Plaintiff and in favor of Defendants on all claims

                    19    contained in the Complaint;

                    20             4.      That Defendants be awarded reasonable costs and attorneys’ fees incurred by this

                    21    action pursuant to Labor Code section 218.5 and any other applicable laws; and

                    22             5.      For such other and further relief as the Court deems just and proper.

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                     1     Dated: August 11, 2022                     MORGAN, LEWIS & BOCKIUS LLP

                     2

                     3                                                By
                                                                           JASON S. MILLS
                     4                                                     MIRANDA M. ROWLEY
                                                                           Attorneys for Defendants
                     5                                                     Caliber Holdings LLC and Caliber
                                                                           Bodyworks LLC
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                     1                                         PROOF OF SERVICE
                                I, Joseph Ding, declare:
                     2
                                I am a citizen of the United States and employed in Santa Clara County, California. I am
                     3   over the age of eighteen years and not a party to the within entitled action. My business address
                         is 1400 Page Mill Road, Palo Alto, CA 94304. On August 11, 2022, I served a copy of the
                     4   within document(s):
                     5                  DEFENDANTS CALIBER HOLDINGS LLC AND CALIBER
                                        BODYWORKS LLC’S ANSWER TO PLAINTIFF’S
                     6                  COMPLAINT
                     7

                     8         by  placing the document(s) listed above in a sealed envelope with postage thereon
                                 fully prepaid, the United States mail at Palo Alto, California addressed as set forth
                     9                  below.

                    10         by  transmitting via e-mail or electronic transmission the document(s) listed above
                                 to the person(s) at the e-mail address(es) set forth below.
                    11

                    12
                         Justin Hanassab                                     Attorneys for Plaintiff
                    13   Steven I. Azizi
                    14   MIRACLE MILE LAW GROUP LLP
                         11835 W. Olympic Blvd. Suite 870 E.
                    15   Los Angeles, CA 90064
                         justin@miraclemilelaw.com
                    16   steven@miraclemilelaw.com
                    17
                                I am readily familiar with the firm's practice of collection and processing correspondence
                    18   for mailing. Under that practice it would be deposited with the U.S. Postal Service on that same
                         day with postage thereon fully prepaid in the ordinary course of business. I am aware that on
                    19   motion of the party served, service is presumed invalid if postal cancellation date or postage
                         meter date is more than one day after date of deposit for mailing in affidavit.
                    20
                                Executed on August 11, 2022, at Palo Alto, California.
                    21
                                  I declare under penalty of perjury under the laws of the State of California that the above
                    22   is true and correct.
                    23

                    24

                    25                                                                      Joseph Ding

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MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
  SILICON VALLEY
                                                                  PROOF OF SERVICE
